   Case 1:19-cv-03862-JMS-DLP Document 6 Filed 10/29/19 Page 1 of 9 PageID #: 27


                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF INDIANA
                                       INDIANAPOLIS DIVISION

                                     )
JOSEPH DADON, an individual          )
                                     )
               Plaintiff,            )
                                     )
v.                                   )               Cause No.: 1:19-cv-3862-JMS
                                     )
UNITED STATES OF AMERICA, by and )
through the Internal Revenue Service )
                                     )
               Defendant.            )


              AMENDED PETITION TO QUASH IRS THIRD PARTY SUMMONS

       Pursuant to, inter alia, 26 U.S.C § 7609(b)(2) and the 4th, 5th and 16th amendments to the United

States Constitution, Petitioner Joseph Dadon (“Mr. Dadon”) respectfully petitions this Court to quash a

third-party summons issued by the Internal Revenue Service (“IRS”) to JP Morgan Chase Bank, N.A.

(the “Summons”). The Summons purports to have been served in connection with an investigation of

tax liabilities of a French company, Société Française de Négoce International. A copy of the Summons

is attached hereto as Exhibit A.

       An order quashing the Summons is sought primarily on the following grounds:

       1.      The Summons purports to have been issued “under the authority of the Internal Revenue

               Code,” yet that Code authorizes the IRS to issue summons only for the purpose of

               determining internal revenue tax liabilities to the United States. The Summons, on its

               face, was issued in connection with potential value added tax liabilities of a French

               company Société Française de Négoce International to the government of France.

               Accordingly, the Summons is not authorized by law.

       2.      The Summons is also not authorized by the 1996 Tax Treaty between the United States

               and France (as amended ) (the “Treaty”).
     Case 1:19-cv-03862-JMS-DLP Document 6 Filed 10/29/19 Page 2 of 9 PageID #: 28


               a. The Treaty provides that the IRS will assist the government of France in the

                   collection of taxes. See Treaty, Article 27. On its face, the Summons was issued

                   upon request made by a private entity, Société Française de Négoce International (or

                   its principals or creditors), not the government of France. Accordingly, the Summons

                   was issued without legal authority and in excess of any authority accorded to the IRS

                   by the Treaty.

               b. The Treaty does not authorize any assistance or other actions by the IRS with respect

                   to collection of taxes from citizens of the United States. See Treaty, Article 28, para.

                   5. Mr. Dadon is a citizen of the United States. Accordingly, the Summons is not

                   authorized or permitted by United States law or any treaty obligations of the United

                   States to the extent its purpose is to assist in the collection of French taxes.

               c. The Treaty authorizes the IRS to provide assistance with respect to collection of taxes

                   owed to the government of France only where the existence of a tax obligation has

                   been finally determined. See Treaty, Article 28, paras. 1-3. In all other cases, the

                   treaty only authorizes the IRS to take “measures of conservancy” and only where a

                   revenue claim has been made by the government of France. Id., para. 4. There is no

                   evidence of any revenue claim against Mr. Dadon by the government of France.

                   Indeed, there is no evidence that Mr. Dadon is even alleged to owe any taxes to the

                   government of France, let alone that any determination has been made that taxes are

                   owed. Accordingly, the Summons is not authorized or permitted by United States

                   law or any treaty obligations of the United States to the extent its purpose is to assist

                   in the collection of French taxes.

I.      JURISDICTION AND PARTIES

        1.     Jurisdiction over this Petition exists in this District pursuant to, inter alia, 26 U.S.C.

§7609(h)(1), which provides in pertinent part: “(1) Jurisdiction.-- The United States district court for
   Case 1:19-cv-03862-JMS-DLP Document 6 Filed 10/29/19 Page 3 of 9 PageID #: 29


the district within which the person to be summoned resides or is found shall have jurisdiction to hear

and determine any proceeding brought under subsection (b)(2)….”

       2.      The Summons was issued to third-party JP Morgan Chase Bank, N.A. (“Chase Bank”) at

its address within this District, located at 7610 West Washington St., Indianapolis, IN 46231. Chase

Bank is one of the largest financial institutions in the United States.

       3.      Petitioner Joseph Dadon (“Mr. Dadon”) is a citizen and resident of the United States,

with his principal residence in Los Angeles, California.

       4.      Respondent is the United States of America, operating by and through the Internal

Revenue Service.

       5.      This petition is timely filed pursuant to 26 U.S.C § 7609(b)(2)(A) in that Respondent

notified Mr. Dadon of the Summons to Chase Bank by sending a copy of it to him on October 11, 2019

by registered mail through the United States Postal Service. This action to quash was first filed on

September 9, 2019, and this amended petition is being filed on October 29, 2019.

       6.      Mr. Dadon timely notified Chase Bank and Respondent of this Amended Petition to

Quash by sending a copy via certified mail on October 29, 2019, to:

               a.      Respondent at:

                       Internal Revenue Service
                       Devika C. Jaipersaud
                       International Tax Law Specialist
                       7850 SW 6th Court, Room 355
                       Stop 4685:DCJ
                       Plantation, FL 33324

               b.      Chase Bank at:

                       National Subpoena Processing
                       JP Morgan Chase Bank, N.A.
                       7610 West Washington St.
                       Indianapolis, IN 46231-1335

       7.       Venue is proper in this District pursuant to 26 U.S.C. §7609(b)(2) and (h)(1).
Case 1:19-cv-03862-JMS-DLP Document 6 Filed 10/29/19 Page 4 of 9 PageID #: 30


                                   OBJECTIONS TO SUMMONS

   8.      The Summons is invalid and ineffective because no law authorizes or permits it.

   9.      Congress has not authorized the Secretary of the Treasury or his delegates (including any

   agent or representative of the Internal Revenue Service) to issue any summons for any purpose

   except to determine a person’s liability for United States revenue taxes or to collect United States

   revenue taxes from such a person.

                  a.      The power to issue summons was conferred upon the Secretary and his

          delegates by Congress in Section 7602(a) of the Internal Revenue Code. By its plain

          terms, however, that section limits that authority to issue summons to investigations

          relating to taxes due to the United States. See 26 U.S.C. §7602(a) (authorizing summons

          “for the purpose of … determining the liability of any person for any internal revenue

          tax….”)

                  b.      The Summons at issue here, however, was not issued in connection with

          any investigation relating to taxes due to the United States. On the contrary, the

          Summons reflects on its face that it was issued in connection with an investigation of

          “French Income Tax Liabilities,” not tax liabilities owed to the United States. See

          Summons (Exhibit A hereto) at 1.

                  c.      The 2009 Protocol between the United States and France does not affect

          these deficiencies. First, Article 1, Section 1 of the United States Constitution vests

          legislative authority jointly in the House of Representatives and the Senate. U.S. Const.,

          Art. 1, §1. Accordingly, section 7602(a) can be amended only by a law approved by both

          the House and the Senate, then signed into law by the President. The 2009 Protocol was

          not passed in or otherwise approved by the House. Second, even the United States

          Senate’s advice and consent to 2009 Protocol between the United States and France was

          conditioned upon the occurrence of certain specified conditions that have not been met.
Case 1:19-cv-03862-JMS-DLP Document 6 Filed 10/29/19 Page 5 of 9 PageID #: 31


         Third, section 7602 was last amended with approval of both chambers of Congress and

         the President on July 1, 2019, such that under the “last-in-time” rule, section 7602

         controls. See Pub. Law No. 116-25; Whitney v. Robertson, 124 U.S. 190, 194 (1888).

         Accordingly, the 2009 Protocol provides no authorization for the issuance of summons

         whose purpose is not to determine a person’s tax liability to the United States.

   10.   The Summons is also not authorized by the Treaty.

                 a.         The investigation authority conferred upon the IRS by the Treaty is

         limited to assistance to the government of France in the collection of taxes. See Treaty,

         Article 27 (authorizing assistance at the request of a “Contracting State”); id., Article 3,

         para. 1(a) (defining “Contracting State” to mean the United States or France only). The

         Summons was issued upon request made by a private entity, Société Française de Négoce

         International (or its principals or creditors), not the government of France. See, Ex. A at

         p. 7 (directing information regarding Summons to 15 Chemin de Basses Vallieres, 69530

         Brignais, France, which is a private address, not an office of the French government).

         Since neither the Treaty nor any law permits the IRS to issue summonses at the request of

         private parties, the Summons in this case was issued without legal authority and is

         therefore invalid.

                 b.         To the extent any claim is made that the purpose of the Summons is to

         assist in the collection of French taxes, it is still not authorized by the Treaty.

                       i.          The Treaty does not authorize any assistance or other actions by

                 the IRS with respect to collection of taxes from citizens of the United States. See

                 Treaty, Article 28, para. 5. Mr. Dadon is a citizen of the United States. Dkt. No.

                 2 (Declaration of Joseph Dadon, filed Sept. 11, 2019 (“Dadon Decl.”)) at ¶2.

                      ii.          The Treaty only authorizes the IRS to provide assistance with

                 respect to collection of taxes owed to the government of France where the
   Case 1:19-cv-03862-JMS-DLP Document 6 Filed 10/29/19 Page 6 of 9 PageID #: 32


                        existence of a tax obligation has been finally determined. See Treaty, Article 28,

                        paras. 1-3. In all other cases, the treaty only authorizes the IRS to take “measures

                        of conservancy” and only where a revenue claim has been made by the

                        government of France. Id., para. 4. Mr. Dadon is not the subject of any revenue

                        claim by the government of France. Dkt. No. 2 (Dadon Decl.) at ¶4. Indeed,

                        there is no evidence that Mr. Dadon is even alleged to owe any taxes to the

                        government of France, let alone that any determination has been made that taxes

                        are owed. Id.

         11.     The Summons is also invalid and ineffective because the records it seeks relate to Joseph

Dadon, not Société Française de Négoce International, the entity whose tax liabilities are apparently at

issue.

                a.      Subdivision (a)(2) of Section 7602 only permits the IRS “[t]o summon the person

         liable for tax … or any person having possession, custody, or care of books of account

         containing entries relating to the business of the person liable for tax….” 26 U.S.C.

         §7602(a)(2).

                b.      Mr. Dadon, however, is not the person whose liability for tax is under

         investigation. On the contrary, the Summons itself makes clear that the person whose tax

         liability is under investigation is Société Française de Négoce International.

                c.      Nor can it be said that deposits or withdrawal made to or from that account bear

         upon any tax owed or allegedly owed by Société Française de Négoce International to France.

         The bank account for which the Summons seeks copies of bank statements does not now and

         never has been owned by Société Française de Négoce International or anyone connected to that

         French company. Dkt. No. 2 (Dadon Decl.) at ¶7. The bank account at issue here belongs to Mr.

         Dadon. Id. What’s more, no funds have ever been sent from that account to Société Française

         de Négoce International, no funds have ever been deposited into that account by Société
   Case 1:19-cv-03862-JMS-DLP Document 6 Filed 10/29/19 Page 7 of 9 PageID #: 33


       Française de Négoce International and no funds belonging to Société Française de Négoce

       International have ever been held in Mr. Dadon’s account. Id., at ¶8.

               d.       The Summons at issue here, however, demands the production of books of

       account (bank account statements) for Mr. Dadon, who is not the person or entity whose tax

       liability is at issue. Id., at ¶6.

       12.      The Summons is also invalid because it was not issued in “good faith,” as required by

the Supreme Court’s pronouncement in United States v. Powell, 379 U.S. 48, 58 (1964).

               a.       A summons is issued in good faith only if (1) it is issued in connection with an

       investigation conducted pursuant to a legitimate purpose; (2) the materials sought by the

       summons are relevant to that purpose; (3) the information sought is not already possessed by the

       IRS; and (4) the administrative steps required by the Internal Revenue Code have been followed.

       Id. at 57-58.

               b.       Even assuming there is some investigation of the tax liabilities of Société

       Française de Négoce International being conducted in France and even assuming such theoretical

       investigation is being conducted for a legitimate purpose, the materials sought by the Summons

       here – Mr. Dadon’s personal bank account documents and statements – cannot be relevant to that

       investigative purpose. The documents sought by the Summons are for Mr. Dadon’s bank

       account, not a bank account belonging to Société Française de Négoce International or anyone

       connected to that French company. Dkt. No. 2 (Dadon Decl.) at ¶7. Moreover, no funds have

       ever been sent from that account to Société Française de Négoce International, no funds have

       ever been deposited into that account by Société Française de Négoce International and no funds

       belonging to Société Française de Négoce International have ever been held in Mr. Dadon’s

       account. Id., at ¶8.

        13.     Finally, the Summons must also be quashed for the IRS’ failure to comply with Section

7602(c) of the Internal Revenue Code.
   Case 1:19-cv-03862-JMS-DLP Document 6 Filed 10/29/19 Page 8 of 9 PageID #: 34


               a.       Under subdivision (c) of Section 7602, the IRS is prohibited from contacting any

       person other than the taxpayer whose tax liability is at issue unless it has first provided notice to

       the taxpayer that it intends to contact third parties with respect to the taxpayer’s alleged tax

       liability. 26 U.S.C. §7602(c)(1).

               b.       No such notice has ever been provided to Mr. Dadon. See Dkt. No. 2 (Dadon

       Decl.) at ¶10.

                                        PRAYER FOR RELIEF

       14.     WHEREFORE, Petitioner respectfully asks the Court to quash the Summons; award costs

and attorneys' fees to Petitioner to the extent allowed by law: and award such other and further relief to

the petitioner as is warranted.



       Dated: Oct. 28, 2019                   Respectfully submitted,


                                              __/s/ Michael A. Bowse__________________________

                                              Michael A. Bowse
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   Case 1:19-cv-03862-JMS-DLP Document 6 Filed 10/29/19 Page 9 of 9 PageID #: 35


                                   CERTIFICATE OF SERVICE

       I certify that on October 29, 2019 a copy of the foregoing Petition to Quash Internal Revenue
Service Third Party Summons was (1) mailed, by first-class U.S. Mail, postage prepaid and properly
addressed, and (2) delivered by facsimile to the following:

              Devika C. Jaipersaud
              International Tax Law Specialist
              7850 SW 6th Court, Room 355
              Plantation, FL 33324
              Stop 4685:DCJ
              Phone: 954-991-4210
              Fax: 877-766-5988

              National Subpoena Processing
              JP Morgan Chase Bank, N.A.
              7610 West Washington St.
              Indianapolis, IN 46231-1335
              Fax: 866-859-8592


                                                   _/s/ Michael A. Bowse______________________
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